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 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (pro hac vice pending)
 John A. Morris (pro hac vice pending)
 Gregory V. Demo (pro hac vice pending)
 Hayley R. Winograd (pro hac vice pending)
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Tel: (310) 277-6910
 Fax: (310) 201-0760

 HAYWARD PLLC
 Melissa S. Hayward
 Texas Bar No. 24044908
 MHayward@HaywardFirm.com
 Zachery Z. Annable
 Texas Bar No. 24053075
 ZAnnable@HaywardFirm.com
 10501 N. Central Expy, Ste. 106
 Dallas, Texas 75231
 Tel: (972) 755-7100
 Fax: (972) 755-7110

 Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                        )
 In re:                                                 )   Chapter 7
                                                        )
 HIGHLAND SELECT EQUITY MASTER                          )   Case No. 23-31037-swe7
 FUND, L.P.,                                            )
                                                        )
                                   Debtor.              )

 HIGHLAND CAPITAL MANAGEMENT, L.P.’S WITNESS AND EXHIBIT LIST WITH
     RESPECT TO EVIDENTIARY HEARING TO BE HELD ON JULY 19, 2023

          Highland Capital Management, L.P. (“HCMLP”), submits the following witness and

exhibit list with respect to Debtor's Motion to Transfer/Reassign Case [Docket No. 9], which the

Court has set for hearing at 10:00 a.m. (Central Time) on July 19, 2023 in the above-styled

bankruptcy case.




WITNESS AND EXHIBIT LIST FOR HEARING ON JULY 19, 2023
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         A.       Witnesses:

                  1.         Any witness identified by or called by any other party; and

                  2.         Any witness necessary for rebuttal.

         Exhibits:

Number                                       Exhibit                                Offered     Admitted

              Proof of Claim No. 131 of The Dugaboy Investment Trust [Case
 1.           No. 19-34054-sgj11] (Bankr. N.D. Tex.)
              Highland Capital Management, L.P.'s Reply in Support of its
              Objection to Proof of Claim Number 131 Filed by The Dugaboy
 2.           Investment Trust on April 8, 2020 [Case No. 19-34054-sgj11,
              Docket No. 2947] (Bankr. N.D. Tex. Oct. 21, 2021)
              Objection to Proof of Claim Number 131 Filed by The Dugaboy
 3.           Investment Trust on April 8, 2020 [Case No. 19-34054-sgj11,
              Docket No. 2796] (Bankr. N.D. Tex. Aug. 30, 2021)
              Limited Response and Consent to (1) Objection to Proof of
              Claim 131 Filed by The Dugaboy Investment Trust on April 8,
 4.           2020 [Case No. 19-34054-sgj11, Docket No. 2933] (Bankr.
              N.D. Tex. Oct. 15, 2021)
              Order re: Objection to Proof of Claim Number 131 Filed by The
              Dugaboy Investment Trust on April 8, 2020 [Case No. 19-
 5.           34054-sgj11, Docket No. 2966] (Bankr. N.D. Tex. Oct. 27,
              2021)
              Original Complaint [Case No. 21-cv-01169-N, Docket No. 1]
 6.           (N.D. Tex. May 21, 2021)
              Plaintiff's Motion to Stay All Proceedings [Case No. 21-cv-
 7.           01169-N, Docket No. 6] (N.D. Tex. Aug. 26, 2021)
              Highland Capital Management, L.P.’s Motion for
 8.           Reconsideration of Stay Order [Case No. 21-cv-01169-N,
              Docket No. 8] (N.D. Tex. Oct. 5, 2021)
              Order re: Highland Capital Management, L.P.’s Motion for
 9.           Reconsideration of Stay Order [Case No. 21-cv-01169-N,
              Docket No. 19] (N.D. Tex. May 9, 2022)
              Highland Capital Management, L.P.’s Amended Motion to
 10.          Dismiss [Adv. Pro. No. 22-03062, Docket No. 20] (Bankr. N.D.
              Tex. Jun. 16, 2022)
              Amended Stipulation of Dismissal of Adversary Proceeding
 11.          [Adv. Pro. No. 22-03062, Docket No. 27] (Bankr. N.D. Tex.
              Aug. 1, 2022)




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Number                                    Exhibit                               Offered     Admitted

              Any document entered or filed in the Debtor’s chapter 7
 12.          bankruptcy case, including any exhibits thereto or any other
              document of which the Court may take judicial notice
              All exhibits necessary for impeachment and/or rebuttal
 13.
              Purposes
              All exhibits identified by or offered by any other party at the
 14.
              Hearing




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 Dated: July 14, 2023

                                                  PACHULSKI STANG ZIEHL & JONES LLP

                                                  Jeffrey N. Pomerantz (pro hac vice pending)
                                                  John A. Morris (pro hac vice pending)
                                                  Gregory V. Demo (pro hac vice pending)
                                                  Hayley R. Winograd (pro hac vice pending)
                                                  10100 Santa Monica Boulevard, 13th Floor
                                                  Los Angeles, CA 90067
                                                  Tel: (310) 277-6910
                                                  Fax: (310) 201-0760
                                                  Email:      jpomerantz@pszjlaw.com
                                                              jmorris@pszjlaw.com
                                                              gdemo@pszjlaw.com
                                                              hwinograd@pszjlaw.com

                                                  -and-

                                                  HAYWARD PLLC

                                                  /s/ Zachery Z. Annable
                                                  Melissa S. Hayward
                                                  Texas Bar No. 24044908
                                                  MHayward@HaywardFirm.com
                                                  Zachery Z. Annable
                                                  Texas Bar No. 24053075
                                                  ZAnnable@HaywardFirm.com
                                                  10501 N. Central Expy, Ste. 106
                                                  Dallas, Texas 75231
                                                  Tel: (972) 755-7100
                                                  Fax: (972) 755-7110

                                                  Counsel for Highland Capital Management, L.P.,




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